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                                                                           January 20, 2024

   VIA ECF

   The Honorable Lewis A. Kaplan
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, New York 10007

                         Re:     Carroll v. Trump, 20 Civ. 7311 (LAK)

   Dear Judge Kaplan:

           We write on behalf of Plaintiff E. Jean Carroll to: (1) address the rule-of-completeness
   issue that arose with respect to PX-164 and PX-164-T during Ms. Carroll’s redirect examination
   on January 18, 2023; (2) inform the Court of certain evidence that we no longer intend to offer as
   part of our case-in-chief; and (3) provide the Court copies of two exhibits that we intend to offer
   on Monday containing false statements posted by Defendant on Truth Social on January 18 and
   today.

           PX-164 and PX-164-T. After leaving the courthouse on January 17, Defendant gave a press
   conference in which he, among other things, repeated his defamatory statements about Ms. Carroll.
   We learned about that press conference later that evening, promptly prepared a video and transcript
   of the portion we intended to put into evidence, and sent the video and transcript to Defendant’s
   counsel pre-marked as PX-164 and PX-164-T. The statement of Defendant contained in those
   exhibits is as follows:

          The witness today, the person I never knew, I never had anything to do with, it’s a
          totally rigged deal, this whole thing is rigged—election interference. But, this is a
          person I have no idea—until this happened obviously—I have no idea who she was,
          and nor could I care less. It’s a rigged deal, it’s a made-up, fabricated story.

   Ex. A (PX-164-T).

           On January 18, during Ms. Carroll’s testimony, we offered, and the Court received, both
   exhibits. Tr. 346. After the video was played, however, defense counsel objected on the ground of
   the rule of completeness. Tr. 347. Although defense counsel did not then identify which other
   portion of the press conference they believed “in fairness ought to be considered,” Fed. R. Evid.
   106, the Court gave them time to review the entire video, noting that PX-164 and PX-164-T were
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    “not now received” into evidence. Tr. 348. Later that day, Ms. Habba informed us that two
    additional portions of what Mr. Trump said that night preceding and following the passage we
    offered should also be played to the jury. Those two portions are as follows:

           I’ll be leaving for New Hampshire in other words right after this. And then as to
           trial today, it was a very interesting day. As you probably noticed, it’s a big story,
           that . . . .

           Well, they found out today that she got rid of a lot of evidence, as you probably
           noticed, she got rid of massive amounts of evidence. And in addition to that she had
           a rifle or a gun because she said she bought gun bullets or rifle bullets, and it was
           the opposite I guess, of her gun. And was it licensed? No, it wasn’t licensed, so I
           guess she’s got a difficult problem, that’s going to be her problem, but she has a
           gun or a rifle. She didn’t really explain which, she might have both because she
           said she bought rifle bullets so—and it’s totally unlicensed, so I assume that’s a
           problem. But the judge was protecting her, he didn’t want to go there, ‘we don’t
           want to go there, we don’t want to hear’—if that were me, it would be a different
           story. But, with her, the judge is totally protective of them. And frankly, anybody
           in that court would see it, it’s, frankly it’s a disgrace. That’s probably one of the
           reasons our country is going to hell.

    See Video of Donald J. Trump, Newsmax (Jan. 17, 2023), available at https://cdn.jwplayer.com/
    previews/CSndTBy8. A transcript of the full video as attached as Exhibit B.

            The rule of completeness “provides that an ‘omitted portion of a statement must be placed
    in evidence if necessary to explain the admitted portion, to place the admitted portion in context,
    to avoid misleading the jury, or to ensure fair and impartial understanding of the admitted
    portion.’” United States v. Thiam, 934 F.3d 89, 96 (2d Cir. 2019). But there is nothing misleading
    about PX-164 and PX-164-T as we offered them. They simply contain yet another repetition, this
    time before Ms. Carroll was off the stand, of Defendant’s defamatory claim that he never “had
    anything to do with” Ms. Carroll and her account of the sexual assault is “a made-up, fabricated
    story.” In fact, the statement we offered as PX-164 and PX-164-T is very similar to other lies that
    Defendant has told about Ms. Carroll that are already in evidence. E.g., Ex. C (PX-98). But here,
    the repetition actually matters since it is directly relevant to the question of the proper measure of
    punitive damages to be decided by the jury. Defendant’s commentary about the New Hampshire
    primary, Ms. Carroll’s firearm, her deletion of emails containing death threats, and Your Honor’s
    alleged bias, however, are obviously the sort of irrelevant, unduly prejudicial topics that have been
    and routinely are excluded. See United States v. Johnson, 529 F.3d 493, 500-01 (2d Cir. 2008);
    Clarke v. United States, 257 F. App’x 361, 363 (2d Cir. 2007); United States v. Mohamed, No. 18
    Cr. 603, 2022 WL 15493545, at *5 (E.D.N.Y. Oct. 26, 2022).

           Accordingly, Plaintiff intends to re-offer PX-164 and PX-164-T without the additions
    proposed by Defendant before we rest our case on Monday.

           Defendant’s testimony. As Your Honor is aware, we previously expressed our concern that
    Defendant would use his testimony in this case to turn the trial into a campaign event, violating
    court orders about the scope of this trial or admissible evidence in service of a political agenda.
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    See ECF 256. Our concern in that regard has only increased since trial began. Defendant has made
    repeated comments about trial evidence within earshot of the jury, Tr. 118, 167; he has sought to
    develop the public narrative that the Court is not “allowing [Defendant] to properly defend
    [himself] from false accusations”; 1 and he has stated on the record that he “would love” if Your
    Honor excluded him from the trial for disregarding court orders or engaging is disruptive behavior,
    Tr. 167.

             In response to our original submission, defense counsel argued that Defendant is entitled
    to testify concerning the Access Hollywood tape and the sexual assault allegations of Natasha
    Stoynoff and Jessica Leeds. ECF 265 at 2. In order to keep the issues at this trial focused, we have
    decided not to offer the designated portions of Defendant’s deposition that relate to the Access
    Hollywood tape and will not request that Natasha Stoynoff and Jessica Leeds be permitted to
    testify as part of Plaintiff’s case-in-chief. 2

            While Defendant has suggested that he would offer testimony relating to common law
    malice for purposes of the jury’s assessment of punitive damages, ECF 265 at 2, defense counsel
    has repeatedly made clear that they do not understand the implications of the Court’s collateral
    estoppel decision on this issue. 3 Thus, counsel’s representation that Defendant will testify that he
    “corrected his initial [June 21] statement” about Ms. Carroll on June 22, ECF 265, is both a red
    herring and a red flag: Defendant has never admitted that he sexually assaulted Ms. Carroll, and
    as recently as January 18, he both insisted that he “never touched [Ms. Carroll]” and her account
    is a “made up & disgusting hoax,” and vowed to repeat his false claims about her “again, a
    thousand times.” 4 Counsel’s promise that Defendant will take the stand to offer a “I corrected my
    lie” defense not only lacks any foundation, but also underscores the need for the Court to ensure
    that Defendant’s testimony (if any) is properly circumscribed to issues that are relevant and
    admissible.

            Defendant’s most recent statements. Finally, we write to provide copies of PX-165 and
    PX-166, which consist of two statements that Defendant made about Ms. Carroll since she stepped
    down from the witness stand on January 18. See Ex. D. These statements, in which Defendant
    repeats his false claim that he “never heard of [Ms. Carroll], never touched her, had nothing to do

    1
        @realDonaldTrump, Truth Social (Jan. 17, 2023), https://truthsocial.com/@realDonaldTrump/posts/
    111772960488972433; see also @realDonaldTrump, Truth Social (Jan. 17, 2023), https://truthsocial.com/
    @realDonaldTrump/posts/111772962282359553; @realDonaldTrump, Truth Social (Jan. 17, 2023), https://truth
    social.com/@realDonaldTrump/posts/111772960895519410; @realDonaldTrump, Truth Social (Jan. 17, 2023),
    https://truthsocial.com/@realDonaldTrump/posts/111772820270629067; @realDonaldTrump, Truth Social (Jan. 17,
    2023), https://truthsocial.com/@realDonaldTrump/posts/111772816176755906.
    2
     We informed defense counsel of our decision not to offer the Access Hollywood tape on January 17 and not to call
    Ms. Stoynoff and Ms. Leeds on January 18.
    3
      Compare, e.g., ECF 235 at 8 (arguing that testimony from Defendant about “whether he believed Carroll’s account”
    is relevant to common law malice particularly where “Defendant held, and continues to hold, an unwavering belief
    that his reputation [of Plaintiff’s accusation] was truthful and sincere”), with ECF 252 at 13-14 (Defendant is precluded
    “from contending that Ms. Carroll fabricated her charge against him” or offering evidence “tending to suggest that the
    assault did not occur”).
    4
      @realDonaldTrump, Truth Social (Jan. 18, 2024), https://truthsocial.com/@realDonaldTrump/posts/11177
    5416185647393.
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    with her,” and, as noted above, promises to repeat his lies “a thousand times.” Id. 5 Such statements
    are of course relevant to the issue of punitive damages, as they illustrate that Defendant has no
    intention of ceasing his defamation campaign against Ms. Carroll, even in the face of judicial
    proceedings in which his liability for defaming her is settled. And while these statements could
    have been offered through the testimony of Ms. Carroll if they had been made earlier, they can and
    should be received regardless: the posts were disseminated through Defendant’s personal Truth
    Social page and share many of the distinct characteristics—in appearance, contents, substance,
    internal patterns, and more—of the other false statements, already in evidence, that Defendant
    posted to Truth Social. See Fed. R. Evid. 901(b)(4); see also, e.g., Ex. C. We will plan to offer
    PX-165 and PX-166 along with Plaintiff’s other remaining exhibits on Monday.

                                                                             Respectfully submitted,



                                                                             Roberta A. Kaplan


    cc:     Counsel of Record




    5
      See also @realDonaldTrump, Truth Social (Jan. 20, 2024), https://truthsocial.com/@realDonaldTrump/posts/
    111789825992370683 (PX-166); @realDonaldTrump, Truth Social (Jan. 18, 2024), https://truthsocial.com/
    @realDonaldTrump/posts/111775416185647393 (PX-165).
